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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

NEW HOPE FAMILY SERVICES, INC.,
Plaz`nti]j§ l
-againsr- 18-CV-1419
sHEILA J. POOLE, MAD/TWD

Defendant.

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
THE COMPLAINT PURSUANT TO FRCP 12(B)(6)

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PRELIMINARY STATEMENT

The New York State Court of Appeals has long held that “neither marital status nor
sexual orientation may'alone be determinative in an adoption proceeding.” In re Jacob, 86
N.Y.2d 651, 663, 667 (1.995). In September 2010, NeW York State amended its Domestic
Relations Law to codify the right to adopt by unmarried adult couples and married adult couples
regardless of sexual orientation or gender identity. 2010 S.B. 1523, Ch. 509. N.Y. Dom. Rel.
LaW §110. Thereafter, in January 2011, the New York State Office of Children Family Services
(“OCFS”) informed, inter alia, authorized adoption agencies in NeW York that the amendment
brought the Domestic Relations LaW into compliance With existing case laW, and Was “intended
to support fairness and equal treatment of families that are ready, Willing and able to provide a
child With a loving home.” OCFS Informational Letter ll-OCFS-INF-Ol (Jan. 11, 2011).

In an effort to clarify existing regulations in light of the 2010 amendment, OCFS
provided further`guidance to authorized adoption agencies. A July 2011 OCFS lnformation
Letter advised that

[i]t is important to recognize that all types of families are potential resources for
children awaiting adoption and should be considered as potential adoptive '
parents. Maturity, self-sufficiency, ability to parent, ability to meet the child’s
needs, and availability of support systems are the critical assessments in
identifying adoptive applicants’ appropriateness for'speciflc children.
OCFS Informational Letter ll-OCFS-H\IF-OS (July ll, 2011). ToWard this end, agencies Were
advised that, inter alia, “discrimination based on sexual orientation in the adoption study
assessment process” is prohibited IQ. OCFS further stated that
OCFS cannot contemplate any case Where the issue of sexual orientation Would
be a legitimate basis, Whether in Whole or in part, to deny the application of a
person to be an adoptive parent. The capacity of the prospective adoptive parents
to meet the needs of children freed for adoption should be the primary

consideration When making approval or rejection decisions of an adoptive
applicant

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E. The Informational Letter also reminded authorized agencies that applicants for adoption may
only be disapproved if (l) the applicant “is physically incapable for caring for an adopted child;”
(2) the applicant “is emotionally incapable of caring for an adopted child;” or (3) the-applicant’s
approval “would not be in the interests of the children awaiting adoption.” E.

In November 2013, OCFS promulgated 18 N.Y.C.R.R. §421.3(d) (hereafter “§421.3(d)”),
which, in accordance with existing law, prohibits “discrimination and harassment against
applicants for adoption services on the basis of race, creed, color, national origin, age, sex,
sexual orientation, gender identity or expression, marital status, religion, or disability” and
requires that agencies authorized by New York State to provide adoption services “shall take
reasonable steps to prevent such discrimination or harassment by staff and volunteers, promptly
investigate incidents of discrimination and harassment, and take reasonable and appropriate
corrective or disciplinary action when Such incidents occur.” 18 N.Y.C.R.R. §421.3(d).

It is this regulation that plaintiff challenges in the instant proceeding However, contrary
to the position of plaintiff, New Hope Family Services, Inc. (“New Hope”), 18 N.Y.C.R.R.
§421.3(d) does not create a new obligation for authorized adoption agencies. Such agencies
were not permitted to deny the applications of otherwise qualified prospective adoptive parents
based on an applicant’s marital status or sexual orientation well before the promulgation of
§421.3(d). ' v

This memorandum of law is submitted on behalf of defendant, OCFS Acting
Commissioner Sheila Poole, in support of her motion to dismiss the complaint pursuant to FRCP

- 12(b)(6).

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PROCESSING OF ADOPTIVE PARENT APPLICATIONS

Agencies authorized to provide adoption services in New York must comply with all
relevant statutory, regulatoryand case law. Initially, agencies must receive and respond to
inquiries from, conduct orientation sessions for, and offer OCFS-approved applications to
' prospective adoptive parents. 18 N.Y.C.R.R. §§421.11(a)-(f). After an adoption application is
received, an adoption study must be completed, E. at §421.13, pursuant to the procedure set
forth in 18 N.Y.C.R.R. §421.15. An adoption study must explore the following characteristics
of prospective adoptive parents: l l .

(l) capacity to give and receive affection;

l(2) ability to provide for a child’s physical and emotional needs;

(3) ability to accept the intrinsic worth of a child, to respect and share his past, to
understand the meaning of separation he has experienced, and to have realistic
expectations and goals;

(4) flexibility and ability to change;

. (5) ability to cope with problems, stress and frustration;

(6) feelings about parenting an adopted child and the ability to make a
commitment to a child placed 1n the home; and

(7) ability to use community resources to strengthen and enrich family
functioning

M. at §421.16. An application may only be rejected if (1) an applicant does not cooperate with
the adoption study; (2) an applicant is “physically incapable of caring for an adoptive child;” (3)
an applicant is “emotionally incapable of caring for an adopted child;” or (4) an applicant’s

approval “would not be in the best interests of children awaiting adoptions.”1 Ll. at §421.15(g).

 

1 Additionally, an applicant must be at least eighteen years old. 18 N.Y.C.R.R. §421.16(b).
' 3

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Once an application is approved, the agency must add the applicant to the adoptive parent
registry. 111 at §§421.15(1); 424.3(a).
MATCHING OF CHILDREN AND ADOPTIVE PARENTS

Whether the adoption of a particular child by a particular prospective adoptive parent
should be approved must be made on the “basis of the best interests of the child.” 18 N.Y.C.R.R.
§421.18(d). When making placement decisions, the agency should consider (l) the ages of the
child and prospective parent(s); (2) the “physical and emotional needs of the child in relation to
the characteristics, capacities, strengths and weaknesses of the adoptive parent(s)”; (3) the
“cultural, ethnic or racial background of the child and the capacity of the adoptive parent to meet
the needs of the child with such a background;” and (4) the ability of a child to be placed in a
home with siblings. E. Additionally, agencies must

[m] ake an effort to place each child in a home as similar to and compatible with his or her

religious background as possible with particular recognition that section 373 (3) of the

Social Services Law requires a court, when practicable, to give custody through adoption

only to persons of the same religious faith as that of the child.
lc_l. at §421.18(0). Further, the Social Services Law provides that “so far as consistent with the
best interests of the child, and where practicable,” the religious wishes of the birthparents should
be honored N.Y. soc. s¢rv.'Law §373(7).

STATEMENT OF FACTS ,

An entity must qualify as an “authorized agency” under the law before it may provide

adoption services. N.Y. Soc. Serv. Law §371(10)(a);_ M N.Y. Soc. Serv. Law §374(2).

New Hope is an “authorized agency” with the authority to “place out or to board out children. . .,

N.Y. Soc. Serv. Law §371(10)(a); see also N.Y. Soc. Serv. Law §374(2), and “receive children

 

for purposes of adoption.” N.Y. Dom. Rel. Law §109(4). g Dkt. No. 1-4 at p. 2. As an

“authorized agency”, New Hope must be “incorporated or organized under the laws of this state

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with corporate power or empowered by law to care for, to place out or to board out children . . .
and submit and consent to the approval, visitation, inspection and supervision of [OCFS]
[emphasis added].” N.Y. Soc. Serv. Law §371(10)(a). Moreover, OCFS must approve an
agency’s certificate of incorporation. N.Y. Soc. Serv. Law §460-a.

New Hope is incorporated under New York Not-For-Profit Corporation Law for myriad
purposes, including placing out children in New York for adoption. N.Y. Not-For-Profit Corp.
Law §404(b)(1). Under prior applicable law, New Hope was granted perpetual corporate
authorily, meaning that it exists as a corporate structure in perpetuity, but not that it is approved
by OCFS to provide adoption services as an “authorized agency” in perpetuity.-N.Y. Soc. Serv.
Law §371(10). ln fact, New Hope does not have “perpetual authorization” to provide adoption
services. Nor'may New Hope provide adoption services without the approval of OCFS. N.Y.
Soc. Serv. Law §371(10)(a).

The complaint alleges that New Hope operates several programs including a pregnancy
resource center, a temporary foster placement program, and adoptions services. Dkt. No. 1 at
‘|150. As an adoption provider, New Hope provides services to birth mothers seeking adoption
placements for their infants, Dkt. No. l. at 1171-102, and single individuals and married
opposite-sex couples seeking to adopt. I_d. at 1111 03-134.

In 2018, OCFS conducted a review of New Hope’s programs During that review, OCFS
discovered that New Hope’s policies prohibit the placement of children for adoption with
unmarried couples or same sex couples.. Dkt. Nos. 1 at 11188. OCFS thereafter informed New
Hope that such policies are in violation of 18 N.Y.C.R.R. §421.3(d) and, therefore, New Hope

would have to provide adoption services to otherwise qualified unmarried and same sex couples

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or cease the operation of its adoption program. Dkt. No. 1-7. New Hope refuses to comply with
§421.3(d). Dki.No. 13111191. '_
ARGUMENT

On a motion to dismiss pursuant to FRCP 12(b)(6), the court must “accept[] all factual
allegations in the complaint as true and draw[] all reasonable inferences in the plaintiff’ s favor.”
Concord Assocs., L.P. v. Entrn’t Pror)s. Trust, 817 F.3d 46, 52 (2d Cir. 2016). However, the
court is not required to assume that legal conclusions within the complaint are true. Ashcroft v.
LLQELL 556 U.S. 662, 678 (2009). “In considering a motion to dismiss, a ‘district court may
consider the facts alleged in the complaint, documents attached to the complaint as exhibits, and
documents incorporated by reference in the complaint.”’ CBF Industria DeGusa S/A v. AMCI
Holdings, Inc., 2018 U.S. Dist LEXIS 100781, *16 (S.D.N.Y. June 15, 2018) (quoting D_iF_o@
v. MSNBC LLC, 622 F.3d 104, 111 (2d Cir. 2010)).

To withstand a motion to dismiss, a complaint must plead “enough facts to state a claim
to relief that is plausible on its face.” Bell Atl. Corp. v. Twomblv, 50 U.S. 544, 570 (2007). A
claim is plausible “when the plaintiff pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged. Matson v. Bd. of
M., 631 F.3d 326, 329 (2d Cir. 2011).

Based on the facts alleged by the plaintiff, the complaint fails to state a cause of action.
First, the complaint fails to allege any facts to support a finding that §421.3(d) Was promulgated
for the purpose of discriminating against religious-beliefs, and therefore it failsto plead a
cognizable free exercise claim. Second, the complaint fails to allege that §421.3(d) is not content
neutral or that it is unnecessary to fulfill the State’s interests in preventing discrimination and

expanding the number of prospective qualified families to adopt children in New York, and

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therefore fails to state a freedom of speech or expressive association claim. Third, the complaint
fails to allege that the plaintiff is being treated differently from other similarly situated
authorized agencies, and therefore fails to allege an equal protection claim. Finally, since the
complaint fails to allege the violation of any of plaintiffs constitutional rights, the complaint
fails to allege that the defendant is conditioning plaintiffs authorization to provide adoption
services on the forfeiture of a constitutional right.
PoINT 1
THE COMPLAINT FAILS TO STATE A FREE EXERCISE CLAIM

To “state a free\exercise claim', a plaintiff generally must establish that ‘the object of [the
challenged] law is to infringe upon or restrict practices because of their religious motivation,’ or
that the law’s ‘purpose...is the suppression of religion or religious conduct.”’ Congregation of
Rabbinical College of Tartikov, Inc. v. Vill. OfPomona, 915 F.Supp.2d 574, 619 (S.D.N.Y. 2013)
(quoting Church of Lukumi Babalu Ave, Inc. v. Hialeah, 508 U.S. 520, 533 (1993)). The right of
the free exercise`of religion does not relieve an individual or entity of the obligation to comply
with a "»‘valid and neutral law of general applicability.” Employment Div., Dept. of Human
Resources of Ore. v. Smith, 494 U.S. 872 (1990). As a result, where an alleged prohibition on the
exercise of religion “is not the object but merely the incidental effect of a generally applicable
and otherwise valid provision, the First Amendment has not been offended.” LL at 878. S_eeali
Bloomingburgv Jewish Educ. Ctr. v. Village of Bloomingburg, 111 F.Supp.3d 459, 484 (S.D.N.Y.
2015) (stating that a “law or regulation that is neutral and of general applicability is constitutional
even if it'has an incidental effect on religion”). Therefore, a law that only incidentally imposes a

burden on the exercise of religion need only be supported by a rational basis. WTC Families for

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a Proper Burial, Inc. v. Citv of New York, 567 F.Supp.2d 529, 539-540 (S.D.N.Y. 2008) (quoting
Leebart v. Harrington, 332 F.3d 134, 143 (2d Cir. 2003)).

Religious beliefs are not targeted by 18 N.Y.C.R.R. §421.3(d), and it is plainly not the
“object” of the regulation to interfere with plaintiff’s, or anyone’s, exercise of religion. On its
'face, §421.3(d) is generally applicable:

[a]uthorized agencies providing adoption services shall...prohibit discrimination
and harassment against applicants for adoption services on the basis of race, creed,
color, national origin, age, sex, sexual orientation, gender identity or expression,
marital status, religion, or disability. ..
18 N.Y.C.R.R. §421.3(d). The regulation applies to all authorized agencies, regardless of any
religious affiliation.

Additionally, 421 .3(d) is neutral. The neutrality of a law is determined by the consideration
of relevant factors, including: “the historical background of the decision under challenge, the
specific series of events leading to the enactment or official policy in-questions, and the legislative
or administrative history,_ including contemporaneous statements made by members of the
decisionmaking body.” /‘Church of Lukumi Babalu Ave, Inc. v. Hialeah, 508 U.S. 520, 540 (1993).
See also Masterpiece Cakeshop, Ltd. v. Colo. Civil rights Comm’n, _ U.S. _, 138 S.Ct. 1719,
1731 (2018) (applyin`g the neutrality factors).

The evolution of adoption law in New York has been discussed by the courts, which have
repeatedly held that the goal of the adoption laws is to further “New York’s ‘strong policy of
assuring that as many children as possible are adopted into suitable family situations,”’ In re Jacob,
86 N.Y.2d at 662, and approve adoptions that are in “the child’s best interests.” E. at 658. To
that end, the expansion of individuals authorized to adopt children in New York State to include

unmarried and same sex couples has been identified by the Court of Appeals as in furtherance of

the intention of this State’s adoption laws. E. at 660-664. See also In re Adoption of Carolvn B.,

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6 A.D.3d 67, 69-70 (4th Dept 2004) (stating that adoption by unmarried and same sex couples
furthers the state’s interests in finding families for as many children as possible).

The object of §421.3(d) furthers that state interest, since the object of the relevant language
of the regulation is to “[p]rohibit[] discrimination on the basis of Sexual orientation, gender identity
or expression in essential social services.” N.Y.S. Register, Nov. 6, 2013, p. 3. The rulemaking
documents and subsequent OCFS Inf`ormation Letters, clearly establish this intent of §421.3(d),
and no discovery is required Therefore, when read in connection with the explicit intended
purpose of the regulation and the established law relating to adoption, the allegations in the
complaint that New Hope’s religious beliefs are incidentally affected by the regulation are
insufficient to state a First Amendment free exercise claim.2 Accordingly, New Hope’s first cause
of action should be dismissed

POINT II

THE COMPLAINT FAILS TO ALLEGE A FREE
SPEECH OR EXPRESSIVE ASSOCIATION CLAIM3

The First Amendment prohibits the promulgation of a law “abridging the freedom of
speech,” U.S. Const. amend I, and the applicable free speech analysis differs depending on
whether the law is “content-based” or “content-neutral.” Universal Citv Studios v. Corlev, 273l
F.3d 429, 450-451 (2d Cir. 2001). “The principal inquiry in determining content neutrality...is

whether the government has adopted a regulation of speech because of disagreement With the

 

2 lt is also noteworthy that §421 3(d) has no effect on the various statutes and regulations requiring
the consideration of birth parents, children and prospective adoptive parents in the matching
process. Therefore, nothing about §421. 3(d) requires New Hope, or any authorized agency, to
place a child with a family without considering the relevant religious beliefs of the parties.

3 New Hope’ s expressive association claim m its second cause of action is duplicative of 1ts free
speech claim Mor,qan v. Cntv of Nassau 2017 U. S. Dist. LEXIS 22992, *46 (E. D ..N Y. Feb. 17
2017). Therefore, both claims fail for the same reasons discussed herein. I_d.

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message it conveys. . .A regulation that Serves purposes unrelated to the content of expression is
deemed neutral, even if it has an incidental effect on some speakers or messages but not others.”
Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989). “In other words, ‘[a law] is content-
based when the content of the speech determines whether the [1aw] applies.” Congregation
Rabbinical College of 'l`artikov, Inc. v. Vill. of Pomona, 138 F.Supp.3d 352, 426 (S.D.N.Y. 2015)
( quoting SuQarman v. Vill. of Chester, 192 F.Supp.2d 282, 292 (S.D.N.Y. 2002)).

As discussed above, §421.3(d) applies to all authorized agencies and, therefore, its
applicability is not based on the content of an agency’s speech. Congregation Rabbinical College
of Tartikov, 138 F.Supp.3d at 426. Additionally, the regulation was promulgated to ensure that
“discrimination on the basis of sexual orientation, gender identity or expression in essential social
services,” does not occur, N.Y.S. Register, Nov. 6, 2013, p. 3, when determining if an adoption is
in a child’s best interests.4 Therefore, it is content-neutral

A content-neutral law does not violate the free speech guarantee of the First Amendment
if it “(1) ‘advances important government interests unrelated to the suppression of speech’ and (2)
‘does not burden substantially more speech than necessary to further those interests.”’ ling
Warner Cable, Inc. `v. FCC, 729 F.3d 137, 160 (2d'Cir. 2013) (stating the factors set forth in M
States v. O’Brien, 391 U.S. 367, 377 (1968)).

The state interest of expanding the number of people who may adopt children has been

judicially determined to be an important government interest ln re Jacob, 86 N.Y.2d at 65 8, 661.

 

4 Just like the Philadelphia Department of Hurnan Services in Fulton v. Citv of Philadelphia,
OCFS “did not seek to create a forum for private speech nor did [it] seek to promote speech`at
all” when it authorized a religious organization to provide family services. 320 F.Supp.3d 661,
695-696 (E.D.PA. 2018). Instead, it authorized New Hope to provide services to New York
State residents, including the completion of adoption studies. _Id. (authorizing plaintiff to provide
certification services and home visits for prospective foster parents). `

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In other words, permanency is vital to the welfare of a child, and is highly valued in determining
a child’s best interests Toward that end, 18 N.Y.C.R.R. §421.3(d) goes no further than ensuring
that all people entitled to adopt in New York are considered and afforded an equal opportunity as
prospective adoptive parents by state authorized adoption agencies lt neither compels, nor
prohibits, New Hope from (1) expressing its beliefs, religious or otherwise, or (2) associating with
others for the purpose of expressing,such beliefs Therefore, plaintiffs second cause of action
should be dismissed l
POINT III

THE COMPLAINT FAILS TO ALLEGE
AN EOUAL PROTECTION CLAIM

The equal protection clauseprovides that no State shall “deny to any person within its
jurisdiction the equal protection of the laws.” U.S. Const., amend XIV.` Its command is essentially
" a direction that all persons similarly situated should be treated alike. Citv of Cleburne v. Cleburne
Living Center, 473 U.S. 432, 439 (1985). An equal protection claim cannot be maintained unless
a plaintiff shows that it is not being treated the same as similarly situated individuals New York
stare club AS'SOC. v. Cirv 01 New York, 487 Us 1, 17_18 (1988); rymer v. stare of rexas, 310
U.S. 141, 147 (1940) (the Equal Protection Clause “does not require things which are different in
fact or opinion to be treated in law as though they were the same.”).

lt is difficult to decipher if New Hope is attempting to allege a “class of one” or a “selective
enforcement” equal protection claim. To allege a class of one equal protection claim, a plaintiff
must allege that it has been “‘intentionally treated differently from others similarly situated and
that there is no rational basis for the difference in treatment.”’ Analvtical Diagnostic Labs. Inc. v.

Kusel, 626 F.3d 135, 140 (2d Cir. 2010) (quoting Village of Willowbrook v. Olech, 528 U.S. 562,

564 (2000)). A plaintiff “must show an extremely high degree of similarity between [itself] and

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[its comparators]” to state such a claim. Ruston v. Town Bd. For the Town of Skaneateles, 610
F.3d 55, 59 (2d Cir. 2010).

A selective enforcement claim requires a plaintiff to allege that it Was treated differently
than others similarly situated “‘based on impermissible considerations such as race, religion, intent
to inhibit or punish the exercise of constitutional rights, or malicious or bad faith intent to
injure...”’ Joglo Realties, Inc. v. Seggos, 229 F.Supp.3d 14`6, 152-153 (E.D.N.Y. 2017) (quoting
LeClair v. Saunders, 627 F.2d 606, 609-610 (2d Cir. 1980)). It is unsettled in the Second Circuit
about the level of similarity that must be alleged to state a selective enforcement claim, with some
courts applying the same standard as in a class of one claim, and others permitting a slightly more
lenient standard requiring that the comparators be similar in “all material respects.” Joglo Realties,
11_1_<;., 229 F.Supp.3d at 153. Notwithstanding, the complaint fails to allege a comparator under
either standard

Based on the allegations in the complaint, themselves, §421.3(d) applies to all agencies
authorized by OCFS to provide adoption services and, therefore, New Hope has failed to allege a
sufficiently similar comparator as required to state an equal protection claim. Vann v. Sudranski,
2017 U.S_. Dist. LEXIS 209439, * 13 (S.D.N.Y. Dec. 20, 2017). New Hope’s allegations of
disparate treatment state that “Section 421 .3(d) treats New Hope’S Speech and exercise of its
religious views differently from persons similarly situated to it because” (1) “faith-based or
secular adoption providers who hold different views on marriage, the family, and human
sexuality are permitting to continue operating” and (2) “parents adopting children are permitted
to taken into account protected classes and characteristics but in facilitating the adoption New
Hope is not.” Dkt. No. 1 at1111282, 283. Neither of these allegations is sufficient to state an

equal protection claim.

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To allege a sufficient comparator, a plaintiff must allege, at a minimum, that it is
similarly situated to such a comparator in all material respects l-lere, New Hope fails to allege
that any other “faith based or secular adoption provider” violated §421.3(d) and was nonetheless
permitted to continue operating its adoption program. lt has not alleged that other authorized
agencies are being permitted to summarily exclude individuals authorized to adopt from the pool
of prospective adoptive parents Additionally, it has not alleged that any other authorized
agencies are refusing to apply the relevant statutory and regulatory factors when determining
whether approval of a family’s application to adopt would be in children’s best interests lnstead,
it alleges only that the general applicability of §421.3(d) incidentally touches on its beliefs Such
allegations are insufficient to allege that New Hope is (l) intentionally being treated differently
from other authorized adoption agencies without a rational basis, Analvtical DiaQnostic Labs,
L, 626 F.3d at 140, or (2) intentionally being treated differently because of a protected
consideration loglo Realties, lnc., 229 F.Supp.3d at 152-153.

New Hope’s attempt to allege adoptive parents as a comparator is even more specious
Prospective adoptive parents are not similarly situated to New Hope under the law. New Hope is
Subj ect to §421.3(d) because it is an adoption agency authorized by the state to provide adoption
services N.Y. Soc. Serv. Law §371(10)(a). By contrast, prospective adoptive parents are simply
members of the public. The state’s determination regarding which criteria authorized adoption
agencies may utilize when evaluating prospective adoptive families is far different than a
family’s determination of whether it can appropriately nurture a child Therefore, prospective
adoptive parents are not similarly Situated to New Hope in all material respects

As New Hope has failed to allege any sufficiently similar comparator, it has failed to

state an equal protection claim. As a result, plaintiffs third cause of action should be dismissed

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POINT lV

THE COMPLAINT FAILS TO ALLEGE AN
UNCONSTITUTIONAL CONDITIONS CLAIM

Finally, the complaint fails to allege an unconstitutional conditions claim. Under the
unconstitutional conditions doctrine, the government may not “condition the acceptance of a
public benefit on the curtailment of a constitutional righ .” Alliance for Or)en Soc’v Int’l v.
United States Agency for lnt’l Dev., 430 F.Supp. 222, 253 (S.D.N.Y. 2006). The application of
the doctrine “varies depending on the underlying substantive right at issue.” EklecCo NewCo
LLC v. Town of Clarkstown, 2018 U.S. Dist. LEXIS 101591, *20 (S.D.N.Y. June 18, 2018). ln
the First Amendment context, the unconstitutional conditions doctrine precludes the government
from “‘deny[ing] a benefit to a person on a basis that infringes his constitutionally
protected . .freedom of speech’ even if he has no entitlement to that benefit.” Bd. Of Coung;
Commissioners v. Umbehr, 518 U.S. 668, 674 (1996).

Plaintiff’ s fourth cause of action alleges that the'defendant “has violated the
unconstitutional conditions doctrine by conditioning New Hope’s perpetual authorization to
provide adoption services on its willingness to relinquish its First Amendment rights.” Dkt. No.
1 at 295. This argument necessarily fails because, as_discussed above, §421.3(d) does not violate
any of New Hope’s First Amendment rights Additionally, as discussed above, this allegation
conflates New Hope’s perpetual authority as a corporate structure with its status as an
“authorized agency” Subj ect to the ongoing approval of QCFS. N.Y. Soc. Serv. Law §371(10)(a).
Further, authorization by OCFS to provide adoption services is not a “public benefi ” under the
unconstitutional conditions doctrine. See e.g. Alliance for Or)en` Soc’v lnt’l v. United States
Agency for lnt’l Dev., 2018 U.S. App. LEXIS 35833, **42-43 (2d Cir. Dec. 20, 2018)

(discussing public funding as the relevant benefit covered by the doctrine).

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Therefore, since New Hope’s authorization to provide adoption services is contingent on

New Hope’s compliance with relevant law, and not on its relinquishment of any First

Amendment rights, plaintiff s fourth cause of action should be dismissed

CONCLUSION

This case does not require the resolution of any issues of fact, because the issues

presented are purely legal ones For the reasons discussed above, defendant’s motion to dismiss

the complaint pursuant to FRCP 12(b)(6) should bev granted in its entirety.

Dated: Albany, New York
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